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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION

 BRADLEY ROBBINS, MATTHEW GREEN,            )
 SAM HALL, JAMES HOUSE, JOHN RARY,          )
 KEITH       FARR,       JAMES        COLUMBIA,
                                            )
 THOMAS BRYANT, ANDREW HUBBARD,             )
 LARRY PATRICK, THOMAS BERNARD,             )
 GREGORY             MARTIN,           ANTHONY
                                            )
 EDMONDS, GARY RUDOLPH, RICHARD             )
 REECE, KEVIN BRYANT, STEVEN LONG,          )
 JUSTIN DICKENS, ADAM HOOPER, KEVIN         )
 WINE, AND JACY BOOTH, Individually, and    )
 on behalf of all others similarly-situated,)
                                            )
                   Plaintiffs,              )
                                            )
 v.                                         ) Case 1:19-cv-01021-STA-egb
                                            )
 FLOWERS FOODS, INC.; FLOWERS )
 BAKING CO. OF BIRMINGHAM, LLC; )
 FLOWERS BAKING CO. OF GADSDEN, )
 LLC; FLOWERS BAKING CO. OF )
 BARDSTOWN, LLC; FLOWERS BAKING )
 CO. OF DENTON, LLC; FLOWERS BAKING )
 CO. OF NEW ORLEANS, LLC; FLOWERS )
 BAKING CO. OF BATON ROUGE, LLC; )
 FLOWERS BAKING CO. OF OPELIKA, LLC; )
 FLOWERS BAKING CO. OF BARDSTOWN, )
 LLC; FLOWERS BAKING CO. OF )
 BATESVILLE, LLC; FLOWERS BAKING )
 CO. OF JAMESTOWN, LLC; FLOWERS )
 BAKING CO. OF KNOXVILLE, LLC; )
 FLOWERS BAKING CO. OF MORRISTOWN, )
 LLC; FLOWERS BAKING CO. OF )
 LYNCHBURG,       LLC;     and  FLOWERS )
 BAKING CO. OF LENEXA, LLC,                 )
                                            )
                   Defendants.              )
______________________________________________________________________________

      ORDER SETTING HEARING ON THE PARTIES’ JOINT MOTION FOR
                          SETTLEMENT APPROVAL
______________________________________________________________________________



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       Before the Court is the parties’ Joint Motion for Settlement Approval filed on February 8,

2019. The Court hereby sets a status conference for Monday, February 25, 2019, 10:30 a.m.,

Courtroom 1, Jackson, Tennessee. The parties should be prepared to discuss the terms of their

settlement and their proposal for court approval of the settlement and conditional certification of

the collective action. The parties should also be prepared to discuss why it serves the interests of

justice for this Court to approve the global settlement.

       IT IS SO ORDERED.
                                              s/ S. Thomas Anderson
                                              S. THOMAS ANDERSON
                                              CHIEF UNITED STATES DISTRICT JUDGE

                                              Date: February 11, 2019




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